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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                          §
                                                §            CHAPTER 7 CASE
                                                §
BRAZOS SANDY CREEK ELECTRIC                     §
COOPERATIVE, INC.,                              §             CASE NO. 22-30682-DRJ
                                                §
                        Debtor.                 §

             DEBTOR’S NOTICE OF FILING AMENDED CREDITOR MATRIX
                             (ADDING CREDITORS)

         PLEASE TAKE NOTICE that on March 18, 2022, Brazos Sandy Creek Electric

Cooperative, Inc. (“Debtor” or “Brazos Sandy Creek”) filed a voluntary petition for relief under

Chapter 7 of the United States Bankruptcy Code for the Southern District of Texas.

         PLEASE TAKE FURTHER NOTICE that on April 18, 2022, the Debtor filed an

Amended Creditor Matrix adding creditors to its matrix. A copy of the Amended Creditor

Matrix listing the parties added is attached hereto as Exhibit A.

Dated: April 19, 2022
                                             RESPECTFULLY SUBMITTED,

                                             LANGLEY & BANACK, INCORPORATED
                                             Suite 700, Trinity Plaza II
                                             745 East Mulberry
                                             San Antonio, TX 78212-3166
                                             Telephone: (210)-736-6600
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                                      By:    /s/ David S. Gragg
                                             DAVID S. GRAGG
                                             Texas State Bar No. 08253300
                                             ALLEN M. DeBARD
                                             Texas State Bar No. 24065132
                                             NATALIE WILSON
                                             Texas State Bar No. 24076779

                                             ATTORNEYS FOR DEBTOR, BRAZOS SANDY
                                             CREEK ELECTRIC COOPERATIVE, INC.




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                                  CERTIFICATE OF SERVICE
        I certify that on April 19, 2022, I caused a copy of the foregoing document to be filed by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas. I further certify that on April 19, 2022, I caused a copy of the foregoing
document to be served as indicated:

         (i)      all parties receiving ECF in this case and all parties requesting notice;
         (ii)     parties listed below by ECF and First Class Mail;
         (iii)    all parties added to the Debtor’s matrix as listed on the attached by First-Class
                  U.S. Mail, postage prepaid.

Chapter 7 Trustee
Janet S. Casciato-Northrup
Hughes Watts and Askanase
1202 Louisiana, 28th Floor
Houston, TX 77002

Attorneys for the Chapter 7 Trustee
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Office of the United States Trustee
for the Southern District of Texas
515 Rusk Street, Suite 3516
Houston, Texas 77002
Via ECF

United States Attorney's Office
for the Southern District of Texas
Wells Fargo Plaza
1000 Louisiana, Suite 2300
Houston, Texas 77002

                                                      /s/ David S. Gragg
                                                      David S. Gragg




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                                     EXHIBIT A
                                  ADDED CREDITORS




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